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                                                           United States Courts
                                                         Southern District of Texas
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                                                            January 21, 2022
                                                       EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt



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